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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:
                                                           Chapter 11
LUCKY’S MARKET PARENT COMPANY,
LLC, et al.,1                                              Case No. 20-10166 (JTD)

                  Debtors.                                 (Jointly Administered)


                   NOTICE OF AGENDA OF MATTERS SCHEDULED
                FOR HEARING ON FEBRUARY 19, 2020 AT 11:00 A.M. (ET)2

MATTERS GOING FORWARD

1.       Motion of Debtors for Entry of (I) an Order (A) Approving Bid Procedures in Connection
         with the Potential Sale of Certain of the Debtors' Assets, (B) Scheduling an Auction and
         Sale Hearing, (C) Approving the Form and Manner of Notice Thereof, (D) Authorizing
         the Debtors to Enter Into the Stalking Horse Agreement, (E) Approving Bid Protections,
         (F) Approving Procedures for the Assumption and Assignment of Contracts and Leases,
         and (G) Granting Related Relief; and (II) an Order (A) Approving the Sale of Certain of
         the Debtors' Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests, (B)
         Authorizing the Assumption and Assignment of Contracts and Leases, and (C) Granting
         Related Relief (Publix Super Markets, Inc.) [Docket No. 63; Filed: 1/30/2020]

         Objection Deadline:                February 12, 2020 at 4:00 p.m.

         Related Document(s):

                  a)      Declaration of Scott Moses in Support of the Debtors' Bidding Procedures
                          Motions [Docket No. 75; Filed: 1/31/2020]



1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are Lucky’s Market Parent Company, LLC (2055), Lucky’s Farmers Market Holding Company, LLC
(5480), Lucky’s Market Operating Company, LLC (7064), LFM Stores LLC (3114), Lucky’s Farmers Market, LP
(0828), Lucky’s Farmers Market Resource Center, LLC (7711), Lucky’s Market Holding Company 2, LLC (0607),
Lucky’s Market GP 2, LLC (9335), Lucky’s Market 2, LP (8384), Lucky’s Market of Longmont, LLC (9789),
Lucky’s Farmers Market of Billings, LLC (8088), Lucky’s Farmers Markets of Columbus, LLC (3379), Lucky’s
Farmers Market of Rock Hill, LLC (3386), LFM Jackson, LLC (8300), Lucky’s Farmers Market of Ann Arbor, LLC
(4067), Lucky’s Market of Gainesville, LLC (7877), Lucky’s Market of Bloomington, LLC (3944), Lucky’s Market
of Plantation, LLC (4356), Lucky’s Market of Savannah, GA, LLC (1097), Lucky’s Market of Traverse, City, LLC
(2033), Lucky’s Market of Naples, FL, LLC (8700), and Sinoc, Inc. (0723).
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  This hearing will be held before the Honorable John T. Dorsey at the United States Bankruptcy Court for the
District of Delaware, 824 N. Market Street, 5th Floor, Courtroom No. 5, Wilmington, Delaware 19801. Parties
wishing to participate in the hearing telephonically must make arrangement through CourtCall (866-582-6878) in
advance of the hearing.



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                   b)    Amended Declaration of Scott Moses in Support of the Debtors' Bidding
                         Procedures Motions [Docket No. 101; Filed: 2/4/2020]

                   c)    Omnibus Notice of Bid Procedures Motions and Hearing Thereon [Docket
                         No. 133; Filed: 2/7/2020]

                   d)    Second Amended Declaration of Scott Moses in Support of the Debtors'
                         Bidding Procedures Motions [Docket No. 188; Filed: 2/13/2020]

         Response(s) Received:

                   a)    Omnibus Limited Objection to Debtors' Motions for Orders Approving
                         Bid Procedures in Connection with the Potential Sale of Certain of the
                         Debtors' Assets [Docket No. 174; Filed: 2/12/2020]

                   b)    Omnibus Objection of the Official Committee of Unsecured Creditors to
                         the Debtors' Bidding Procedures Motions [Docket No. 175; Filed:
                         2/12/2020]

                   c)    Informal comments from the Office of the United States

         Status:         This matter will go forward with respect to approval of bid procedures.
                         The Debtors intend to file an omnibus reply to the objections in advance
                         of the hearing.

2.       Motion of Debtors for Entry of (I) an Order (A) Approving Bid Procedures in Connection
         with the Potential Sale of Certain of the Debtors' Assets, (B) Scheduling an Auction and
         Sale Hearing, (C) Approving the Form and Manner of Notice Thereof, (D) Authorizing
         the Debtors to Enter Into the Stalking Horse Agreement, (E) Approving Bid Protections,
         (F) Approving Procedures for the Assumption and Assignment of Contracts and Leases,
         and (G) Granting Related Relief; and (II) an Order (A) Approving the Sale of Certain of
         the Debtors' Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests,
         (B) Authorizing the Assumption and Assignment of Contracts and Leases, and (C)
         Granting Related Relief (ALDI INC.) [Docket No. 71; Filed: 1/31/2020]

         Objection Deadline:           February 12, 2020 at 4:00 p.m.

         Related Document(s):

                   a)    Declaration of Scott Moses in Support of the Debtors' Bidding Procedures
                         Motions [Docket No. 75; Filed: 1/31/2020]

                   b)    Amended Declaration of Scott Moses in Support of the Debtors' Bidding
                         Procedures Motions [Docket No. 101; Filed: 2/4/2020]

                   c)    Omnibus Notice of Bid Procedures Motions and Hearing Thereon [Docket
                         No. 133; Filed: 2/7/2020]


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                   d)    Second Amended Declaration of Scott Moses in Support of the Debtors'
                         Bidding Procedures Motions [Docket No. 188; Filed: 2/13/2020]

         Response(s) Received:

                   a)    Limited Objection Of ARC CLORLFL001, LLC, Brixmor Operating
                         Partnership LP, And TLF (Orlando), LLC, Series A To Motions Of
                         Debtors For Entry Of (I) An Order (A) Approving Bid Procedures In
                         Connection With The Potential Sale Of Certain Of The Debtors Assets,
                         (B) Scheduling An Auction And Sale Hearing (C) Approving The Form
                         And Manner Of Notice Thereof, (D) Authorizing The Debtors To Enter
                         Into The Stalking Horse Agreement, (E) Approving Bid Protections, (F)
                         Approving Procedures For The Assumption Of Contracts And Leases,
                         And (G) Granting Related Relief; And (II) An Order (A) Approving The
                         Sale Of [Docket No. 172; Filed: 2/12/2020]

                   b)    Reservation of Rights Of Realty Income Properties 4, LLC To Debtors
                         Motion Of Debtors For Entry Of (I) An Order (A) Approving Bid
                         Procedures In Connection With The Potential Sale Of Certain Of The
                         Debtors' Assets, (B) Scheduling An Auction And Sale Hearing, (C)
                         Approving The Form And Manner Of Notice Thereof, (D) Authorizing
                         The Debtors To Enter Into The Stalking Horse Agreement, (E) Approving
                         Bid Protections, (F) Approving Procedures For The Assumption And
                         Assignment Of Contracts And Leases, And (G) Granting Related Relief;
                         And (II) An Order (A) Approving The Sale Of Certain Of The Debtors
                         Assets Free And Clear Of All Liens, Claims, Encumbrances, And
                         Interests, (B) Authorizing The Assumption And Assignment Of Contracts
                         And Leases, And (C) Granting Related Relief (ALDI, Inc.) [Docket No.
                         173; Filed: 2/12/2020]

                   c)    Omnibus Limited Objection to Debtors' Motions for Orders Approving
                         Bid Procedures in Connection with the Potential Sale of Certain of the
                         Debtors' Assets [Docket No. 174; Filed: 2/12/2020]

                   d)    Omnibus Objection of the Official Committee of Unsecured Creditors to
                         the Debtors' Bidding Procedures Motions [Docket No. 175; Filed:
                         2/12/2020]

                   e)    Informal comments from the Office of the United States

         Status:         This matter will go forward with respect to approval of bid procedures.
                         The Debtors intend to file an omnibus reply to the objections in advance
                         of the hearing.




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3.       Motion of Debtors for Entry of (I) an Order (A) Approving Bid Procedures in Connection
         with the Potential Sale of Certain of the Debtors' Assets, (B) Scheduling an Auction and
         Sale Hearing, (C) Approving the Form and Manner of Notice Thereof, (D) Authorizing
         the Debtors to Enter Into the Stalking Horse Agreement, (E) Approving Bid Protections,
         (F) Approving Procedures for the Assumption and Assignment of Contracts and Leases,
         and (G) Granting Related Relief; and (II) an Order (A) Approving the Sale of Certain of
         the Debtors' Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests,
         (B) Authorizing the Assumption and Assignment of Contracts and Leases, and (C)
         Granting Related Relief (Seabra Foods XIV, Inc.) [Docket No. 72; Filed: 1/31/2020]

         Objection Deadline:          February 12, 2020 at 4:00 p.m.

         Related Document(s):

                a)     Declaration of Scott Moses in Support of the Debtors' Bidding Procedures
                       Motions [Docket No. 75; Filed: 1/31/2020]

                b)     Amended Declaration of Scott Moses in Support of the Debtors' Bidding
                       Procedures Motions [Docket No. 101; Filed: 2/4/2020]

                c)     Omnibus Notice of Bid Procedures Motions and Hearing Thereon [Docket
                       No. 133; Filed: 2/7/2020]

                d)     Second Amended Declaration of Scott Moses in Support of the Debtors'
                       Bidding Procedures Motions [Docket No. 188; Filed: 2/13/2020]

         Response(s) Received:

                a)     Limited Objection Of ARC CLORLFL001, LLC, Brixmor Operating
                       Partnership LP, And TLF (Orlando), LLC, Series A To Motions Of
                       Debtors For Entry Of (I) An Order (A) Approving Bid Procedures In
                       Connection With The Potential Sale Of Certain Of The Debtors Assets,
                       (B) Scheduling An Auction And Sale Hearing (C) Approving The Form
                       And Manner Of Notice Thereof, (D) Authorizing The Debtors To Enter
                       Into The Stalking Horse Agreement, (E) Approving Bid Protections, (F)
                       Approving Procedures For The Assumption Of Contracts And Leases,
                       And (G) Granting Related Relief; And (II) An Order (A) Approving The
                       Sale Of [Docket No. 172; Filed: 2/12/2020]

                b)     Omnibus Limited Objection to Debtors' Motions for Orders Approving
                       Bid Procedures in Connection with the Potential Sale of Certain of the
                       Debtors' Assets [Docket No. 174; Filed: 2/12/2020]

                c)     Omnibus Objection of the Official Committee of Unsecured Creditors to
                       the Debtors' Bidding Procedures Motions [Docket No. 175; Filed:
                       2/12/2020]



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                   d)    Informal comments from the Office of the United States Trustee

         Status:         This matter will go forward with respect to approval of bid procedures.
                         The Debtors intend to file an omnibus reply to the objections in advance
                         of the hearing.

4.       Motion of Debtors for Entry of (I) an Order (A) Approving Bid Procedures in Connection
         with the Potential Sale of Certain of the Debtors' Assets, (B) Scheduling an Auction and
         Sale Hearing, (C) Approving the Form and Manner of Notice Thereof, (D) Authorizing
         the Debtors to Enter Into the Stalking Horse Agreement, (E) Approving Bid Protections,
         (F) Approving Procedures for the Assumption and Assignment of Contracts and Leases,
         and (G) Granting Related Relief; and (II) an Order (A) Approving the Sale of Certain of
         the Debtors' Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests, (B)
         Authorizing the Assumption and Assignment of Contracts and Leases, and (C) Granting
         Related Relief (LM Acquisition Co. LLC) [Docket No. 73; Filed: 1/31/2020]

         Objection Deadline:           February 12, 2020 at 4:00 p.m.

         Related Document(s):

                   a)    Declaration of Scott Moses in Support of the Debtors' Bidding Procedures
                         Motions [Docket No. 75; Filed: 1/31/2020]

                   b)    Notice of Filing of Amended and Restated Exhibit A to Motion of Debtors
                         for Entry of (I) an Order (A) Approving Bid Procedures in Connection
                         with the Potential Sale of Certain of the Debtors' Assets, (B) Scheduling
                         an Auction and Sale Hearing, (C) Approving the Form and Manner of
                         Notice Thereof, (D) Authorizing the Debtors to Enter Into the Stalking
                         Horse Agreement, (E) Approving Bid Protections, (F) Approving
                         Procedures for the Assumption and Assignment of Contracts and Leases,
                         and (G) Granting Related Relief; and (II) an Order (A) Approving the Sale
                         of Certain of the Debtors' Assets Free and Clear of All Liens, Claims,
                         Encumbrances, and Interests, (B) Authorizing the Assumption and
                         Assignment of Contracts and Leases, and (C) Granting Related Relief
                         (LM Acquisition Co. LLC) [Docket No. 99; Filed: 2/4/2020]

                   c)    Amended Declaration of Scott Moses in Support of the Debtors' Bidding
                         Procedures Motions [Docket No. 101; Filed: 2/4/2020]

                   d)    Omnibus Notice of Bid Procedures Motions and Hearing Thereon [Docket
                         No. 133; Filed: 2/7/2020]

                   e)    Second Amended Declaration of Scott Moses in Support of the Debtors'
                         Bidding Procedures Motions [Docket No. 188; Filed: 2/13/2020]




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         Response(s) Received:

                   a)    Omnibus Limited Objection to Debtors' Motions for Orders Approving
                         Bid Procedures in Connection with the Potential Sale of Certain of the
                         Debtors' Assets [Docket No. 174; Filed: 2/12/2020]

                   b)    Omnibus Objection of the Official Committee of Unsecured Creditors to
                         the Debtors' Bidding Procedures Motions [Docket No. 175; Filed:
                         2/12/2020]

                   c)    Informal comments from the Office of the United States Trustee

         Status:         This matter will go forward with respect to approval of bid procedures.
                         The Debtors intend to file an omnibus reply to the objections in advance
                         of the hearing.

5.       Motion of Debtors for Entry of (I) an Order (A) Approving Bid Procedures in Connection
         with the Potential Sale of Certain of the Debtors' Assets, (B) Scheduling an Auction and
         Sale Hearing, (C) Approving the Form and Manner of Notice Thereof, (D) Authorizing
         the Debtors to Enter Into the Stalking Horse Agreement, (E) Approving Bid Protections,
         (F) Approving Procedures for the Assumption and Assignment of Contracts and Leases,
         and (G) Granting Related Relief; and (II) an Order (A) Approving the Sale of Certain of
         the Debtors' Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests, (B)
         Authorizing the Assumption and Assignment of Contracts and Leases, and (C) Granting
         Related Relief (Winn-Dixie Store, Inc.) [Docket No. 97; Filed: 2/4/2020]

         Objection Deadline:           February 12, 2020 at 4:00 p.m.

         Related Document(s):

                   a)    Amended Declaration of Scott Moses in Support of the Debtors' Bidding
                         Procedures Motions [Docket No. 101; Filed: 2/4/2020]

                   b)    Omnibus Notice of Bid Procedures Motions and Hearing Thereon [Docket
                         No. 133; Filed: 2/7/2020]

                   c)    Second Amended Declaration of Scott Moses in Support of the Debtors'
                         Bidding Procedures Motions [Docket No. 188; Filed: 2/13/2020]

         Response(s) Received:

                   a)    Omnibus Limited Objection to Debtors' Motions for Orders Approving
                         Bid Procedures in Connection with the Potential Sale of Certain of the
                         Debtors' Assets [Docket No. 174; Filed: 2/12/2020]

                   b)    Omnibus Objection of the Official Committee of Unsecured Creditors to
                         the Debtors' Bidding Procedures Motions [Docket No. 175; Filed:
                         2/12/2020]

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                   c)    Informal comments from the Office of the United States Trustee

         Status:         This matter will go forward with respect to approval of bid procedures.
                         The Debtors intend to file an omnibus reply to the objections in advance
                         of the hearing.

6.       Motion of Debtors for Entry of (I) an Order (A) Approving Bid Procedures in Connection
         with the Potential Sale of Certain of the Debtors' Assets, (B) Scheduling an Auction and
         Sale Hearing, (C) Approving the Form and Manner of Notice Thereof, (D) Authorizing
         the Debtors to Enter Into the Stalking Horse Agreement, (E) Approving Bid Protections,
         (F) Approving Procedures for the Assumption and Assignment of Contracts and Leases,
         and (G) Granting Related Relief; and (II) an Order (A) Approving the Sale of Certain of
         the Debtors' Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests, (B)
         Authorizing the Assumption and Assignment of Contracts and Leases, and (C) Granting
         Related Relief (Carlos Alvarez) [Docket No. 98; Filed: 2/4/2020]

         Objection Deadline:           February 12, 2020 at 4:00 p.m.

         Related Document(s):

                   a)    Amended Declaration of Scott Moses in Support of the Debtors' Bidding
                         Procedures Motions [Docket No. 101; Filed: 2/4/2020]

                   b)    Omnibus Notice of Bid Procedures Motions and Hearing Thereon [Docket
                         No. 133; Filed: 2/7/2020]

                   c)    Second Amended Declaration of Scott Moses in Support of the Debtors'
                         Bidding Procedures Motions [Docket No. 188; Filed: 2/13/2020]

         Response(s) Received:

                   a)    Omnibus Limited Objection to Debtors' Motions for Orders Approving
                         Bid Procedures in Connection with the Potential Sale of Certain of the
                         Debtors' Assets [Docket No. 174; Filed: 2/12/2020]

                   b)    Omnibus Objection of the Official Committee of Unsecured Creditors to
                         the Debtors' Bidding Procedures Motions [Docket No. 175; Filed:
                         2/12/2020]

                   c)    Limited Objection of Seritage SRC Finance LLC to Motion of Debtors for
                         Entry of (I) Of an Order (A) Approving Bid Procedures in Connection
                         With the Potential Sale of Certain of the Debtors Assets, (B) Scheduling
                         an Auction and a Sale Hearing, (C) Approving the Form and Manner of
                         Notice Thereof, (D) Authorizing the Debtors to Enter Into the Stalking
                         Horse Agreement, (E) Approving Bid Protections, (F) Approving
                         Procedures for the Assumption and Assignment of Contracts and Leases,
                         and (G) Granting Related Relief; (II) an Order Approving the Sale of
                         Certain of the Debtors Assets Free and Clear of All Liens, Claims,

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                         Encumbrances, and Interests, (B) Authorizing the Assumption and
                         Assignment of Contracts and Eases, and (C) Granting Related Relief
                         (Carlos Alvarez) [Docket No. 176; Filed: 2/12/2020]

                   d)    Informal comments from the Office of the United States Trustee

         Status:         This matter will go forward with respect to approval of bid procedures.
                         The Debtors intend to file an omnibus reply to the objections in advance
                         of the hearing.

7.       Motion of Debtors for Entry of (I) an Order (A) Approving Global Bid Procedures in
         Connection with the Sale of the Remainder of the Debtors' Assets, (B) Scheduling an
         Auction and Sale Hearing, (C) Approving the Form and Manner of Notice Thereof, (D)
         Approving Procedures for the Assumption and Assignment of Contracts and Leases, and
         (E) Granting Related Relief; and (II) an Order (A) Approving the Sale of the Remainder
         of the Debtors' Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests,
         (B) Authorizing the Assumption and Assignment of Contracts and Leases, and (C)
         Granting Related Relief [Docket No. 186; Filed: 2/13/2020]

         Objection Deadline:           At the hearing.

         Related Document(s):

                   a)    Second Amended Declaration of Scott Moses in Support of the Debtors'
                         Bidding Procedures Motions [Docket No. 188; Filed: 2/13/2020]

                   b)    Notice of Motion of Debtors for Entry of (I) an Order (A) Approving
                         Global Bid Procedures in Connection with the Sale of the Remainder of
                         the Debtors' Assets, (B) Scheduling an Auction and Sale Hearing, (C)
                         Approving the Form and Manner of Notice Thereof, (D) Approving
                         Procedures for the Assumption and Assignment of Contracts and Leases,
                         and (E) Granting Related Relief; and (II) an Order (A) Approving the Sale
                         of the Remainder of the Debtors' Assets Free and Clear of All Liens,
                         Claims, Encumbrances, and Interests, (B) Authorizing the Assumption and
                         Assignment of Contracts and Leases, and (C) Granting Related Relief
                         [Docket No. 193; Filed: 2/13/2020]

         Response(s) Received:         None at this time.

         Status:         This matter will go forward with respect to approval of bid procedures.
                         The Debtors intend to file an omnibus reply to the objections in advance
                         of the hearing. The Debtors believe that the global bidding procedures
                         motion resolves parties concerns regarding the proposed sale process
                         timeline.




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Dated: February 14, 2020                   Respectfully submitted,
       Wilmington, Delaware
                                           POLSINELLI PC

                                            /s/ Christopher A. Ward
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                                           -and-

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                                           Proposed Counsel to the Debtors and
                                           Debtors in Possession




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